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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                        PLAINTIFF

Vs.                           CASE NO. 4:03cr00225-03 JMM

AMANDA KETELSEN                                                              DEFENDANT

                                          ORDER

       Defendant appeared for a hearing on the United States’ motions to revoke probation
(docket entries #151 & #161). Defendant admitted to most allegations contained in the
violation memos. Following statements in mitigation by defense counsel, Defendant’s
mother, and Defendant, and response by the United States, the Court denies the motions
to revoke probation.
       Defendant’s conditions of probation are modified to place Defendant on home
incarceration with electronic home monitor for a period of four (4) months. Due to
Defendant’s financial situation and the balance due on the restitution, the cost associated
with electronic monitoring will be paid by the United States. Defendant is restricted to her
residence at all times except for medical needs or treatment, religious services, and court
appearances, all which must be pre-approved by the supervising officer. The Court
granted Defendant’s request to pick up her children at school until school recesses for the
summer. The time Defendant will be away from the home to pick up her children must be
cleared with the supervising officer.     All other conditions of Defendant’s probation
previously imposed remain in effect.
       Defendant is warned that any further violations of probation will result in a show
cause hearing as to why her probation should not be revoked.
       IT IS SO ORDERED this       26th   day of May, 2006.



                                             UNITED STATES DISTRICT JUDGE
